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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,

             Plaintiff and              Case No. 4:21-cv-01091-MWB
             Counter-Claim Defendant,   (Hon. Matthew W. Brann)

      v.                                JURY TRIAL DEMANDED
VINTAGE BRAND, LLC;

             Defendant and Counter-
             Claim Plaintiff

and

SPORTSWEAR INC. d/b/a PREP
SPORTWEAR; CHAD HARTVIGSON;
ERIK HARTVIGSON; and MICHELLE
YOUNG,

             Defendants.


    REPLY IN SUPPORT OF MOTION OF 18 INTELLECTUAL PROPERTY
  PROFESSORS FOR LEAVE TO FILE BRIEF AMICI CURIAE IN SUPPORT OF
          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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       Amici curiae professors of intellectual property law have moved for leave to file an amici

brief in this case. Plaintiff The Pennsylvania State University opposes the motion. Plaintiff and

amici agree that the Court has broad discretion to accept the proposed amici brief. While amicus

briefs in district court are less common than appellate court, district courts across the country

regularly accept them. This Court has previously done so. See, e.g., Warner Valley Farm LLC v.

SWN Prod. Co. LLC, Case No. 4:21-cv-01079 (MWB), Dkt. 41 (Aug. 8, 2022); Donald Trump

for President, Inc., et al., v. Boockvar et al., Case No. 4:20-cv-02078, Dkt. 146 (Nov. 16, 2020).

Amici respectfully request that the Court do so in this case.

       1.      Amici have an appropriate interest in this case. Amici are intellectual property

law professors who teach and write extensively about trademark law and other intellectual property

law subjects. Their interest in this case is in the proper development of trademark law and the

Lanham Act in a way that serves the public interest, in part by balancing legitimate trademark

interests, free expression, and informed and competitive markets.

       Plaintiff’s opposition asserts that this “sole interest . . . in the orderly development of

trademark law” rather than “personal interest in this case” is not the “particularized kind of special

interest” that justifies accepting the proposed brief. It cites the rejection in Am. Coll. of

Obstetricians & Gynecologists, Pennsylvania Section v. Thornburgh, 699 F.2d 644, 645 (3d Cir.

1983) of an amicus brief from a group of law professors’ who asserted “only their concern about

the manner in which this court will interpret the law as the basis for their brief.” Dkt. 144 at 3-4.

       But the Thornburgh decision’s constrained view of “interest” was later sharply criticized

by then Third Circuit Judge Alito in Neonatology Assocs. v. Comm’r, 293 F.3d 128, 131 (3d Cir.

2002). Granting a motion for leave to file an amicus brief as a single judge, he found it “particularly

difficult to reconcile impartiality and interestedness if the latter requirement is interpreted as a



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panel of our court did in . . . Thornburgh . . . because the proposed amici law professors did not

express “a legally cognizable interest in the subject matter at issue,” but rather expressed “only

their concern about the manner in which this court will interpret the law." Id. (emphasis in

original). Judge Alito noted that it would be ‘virtually impossible” for an amicus to be “‘an

impartial individual . . . whose function is to advise in order that justice may be done’’ but not a

person who is ‘only . . . concern[ed] about the manner in which [the] court will interpret the law.’”

Id. (internal citations omitted). Judge Alito concluded that “it is preferable to err on the side of

granting leave.” Id. at 33.

        Here, amici’s interest in the proper interpretation and development of trademark law is

appropriate and useful for the Court and warrants accepting the amicus brief.

        2.     Amici’s interest is not fully represented in this case. Plaintiff’s assertion that

amicus briefs should not be accepted if the parties are adequately represented was also largely

rejected by Judge Alito in Neonatology Assocs. (decided after the cases Plaintiff cites for this

point): “I disagree that an amicus seeking leave to file must show that the party to be supported is

either unrepresented or inadequately represented. . . . [S]uch a requirement is most undesirable.”.

Id. at 132.

        But even if such a requirement existed, amici’s interest in the proper development and

application of the Lanham Act is not adequately represented by the parties in this case. Each party

here appropriately seeks the most favorable outcome for their business interests, whether or not

that outcome reflects the most-sound construction of trademark law for future cases or for the

public interest. Amici, on the other hand, have a strong interest in development of trademark law

in a way that serves the public interest and ensures the appropriate balance between legitimate




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trademark, speech, and competition interests. Those interests, not otherwise represented, are

precisely the sort that amicus briefs regularly present to assist courts.

        3.      The proposed amici brief is useful and relevant to this Court’s determination of

how to construe the Lanham Act and apply it to the particular undisputed facts of this case. Amici’s

brief is not, as Plaintiff asserts, a brief about policy. It is directly about the correct interpretation

of the Lanham Act. To the extent the proposed brief addresses the underlying goals and purposes

of the Act, those considerations are part and parcel of properly interpreting the statute.

        That is how courts, including the Supreme Court, approach the Act. See, e.g., Jack Daniel’s

Properties, Inc. v. VIP Products LLC, No. 22-148, 599 U.S. ____ (2023) (slip op., at 4), where the

Court explained that its conclusion about expressive uses that also make trademark use of a mark

“fits trademark law, and reflects its primary mission. [T]he Lanham Act views marks as source

identifiers—as things that function to “indicate the source” of goods, and so to “distinguish” them

from ones “manufactured or sold by others.” Id. at 14. The opinion also explains that “[c]onfusion

as to source is the bête noire of trademark law—the thing that stands directly opposed to the law’s

twin goals of facilitating consumers’ choice and protecting producers’ good will.” Id. at 4

(emphasis added). Understanding the underlying purposes and goals of the Lanham Act is integral

– indeed essential -- to determining the proper scope of the statute. The proposed brief focuses

directly on these legal issues, the same issues this Court must address in ruling on the summary

judgment motions.

        Plaintiff’s opposition also wrongly asserts that the amici brief would be unhelpful because

it focuses only on out-of-Circuit case law “rather than binding authority” and “disregard[s]

applicable authority,” purportedly “without citing to the Third Circuit.” See Doc. 144 at 10. While

the proposed brief examines at length the “incongruent case law” that has developed since the




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decision, it makes clear that Boston Hockey decision is not binding case law in the Third Circuit

and that the issue is an open one, citing discussion, including Third Circuit precedent, in this

Court’s previous denial of Plaintiff’s motion to dismiss a counterclaim. See Dkt. 131-3 at 18

(“Dkt. 43 at 1 (noting that Univ. of Pittsburgh v. Champion Prods., 686 F.2d 1040 (3d Cir. 1982),

did not create binding precedent)”).

        The brief’s detailed review of the misguided state of much of the current case law is not

about policy, it is about precisely the task before this Court: understanding and avoiding the

misinterpretations reached by certain other courts and applying the Lanham Act in a way that is

consistent with its text, goals, and purposes.

        Amici’s perspectives on these issues will be useful to the Court. The Court previously noted

the academic literature regarding “the creation of a broad merchandising right” and expressed

interest in the conclusions in much of the literature that a broad merchandising right was

“unmoored from trademark law’s ‘twin goals of encouraging investment in product quality and

preventing consumer deception.’” Doc. 43 at 18-21. The amici intellectual law professors are, as

detailed in the Motion for Leave, experts in trademark law, many have written about the

merchandising issues raised in this case, and their proposed brief offers a helpful perspective on

how to properly construe and apply the Lanham Act to the broader merchandising context, all

contributions that may assist the Court’s interpretaton of the Lanham Act and understanding of the

the development of current case law. See Harris v. Pernsley, 820 F.2d 592, 603 (3d Cir. 1987)

(“[P]ermitting persons to appear . . . as friends of the court . . . may be advisable where third parties

can contribute to a court’s understanding.”).

        4.      Amici are not partial to a particular outcome in this case. Amici’s interest is in

ensuring the proper interpretation and application of the Lanham Act in ways that serve the public




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interest. In this case, amici recognize that a proper interpretation and application of the law likely

would lead to a grant of defendant’s motion for summary judgment, but that result – rather than

the proper interpretation and development of the Lanham Act -- is incidental to amici’s interests.

       For the above reasons, amici IP professors respectfully request that the Court exercise its

broad discretion to grant their Motion for Leave to file the proposed amici brief.

Dated: June 29, 2023
                                               Respectfully submitted,

                                               BARLEY SNYDER

                                               By: /s/ Justin Tomevi
                                               Justin Tomevi
                                               Pa. ID No. 313661
                                               Barley Snyder
                                               100 East Market Street
                                               York, PA 17401
                                               Tel: 717-852-4977
                                               Fax: 717-843-8492
                                               Email: jtomevi@barley.com

                                               Phillip R. Malone (admitted pro hac vice)
                                               Juelsgaard Intellectual Property &
                                                 Innovation Clinic
                                               Mills Legal Clinic, Stanford Law School
                                               559 Nathan Abbott Way
                                               Stanford, CA 94305
                                               Tel: 650-725-6369
                                               Fax: 650-723-4426
                                               Email: pmalone@law.stanford.edu




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                                CERTIFICATE OF SERVICE
       I hereby certify that I electronically filed the foregoing document with the Clerk of the

Court using the CM/ECF system on this 29th day of June 2023, which constitutes service

on Plaintiff and Defendant pursuant to Fed. R. Civ. P. 5(b)(2)(E):


    Allison L. Ebeck, Esquire
    Pa. ID No. 322837
    McGuire Woods LLP
    Tower Two-Sixty
    260 Forbes Avenue, Suite 1800
    Pittsburgh, PA 15222-3142
    AEbeck@mcguirewoods.com

    Claire H. Eller, Esquire (admitted pro hac vice)
    Lucy J. Wheatley, Esquire (admitted pro hac vice)
    Matthew G. Rosendahl, Esquire (admitted pro hac vice)
    McGuire Woods LLP
    Gateway Plaza
    800 East Canal Street
    Richmond, VA 23219-3916
    CEller@mcguirewoods.com
    LWheatley@mcguirewoods.com
    Attorneys for Plaintiff,
    The Pennsylvania State University

    Jodi S. Wilenzik, Esquire
    Pa. ID No. 89205
    Marc H. Perry, Esquire
    Pa. ID No. 6810
    Post & Schell, P.C.
    1600 JFK Boulevard, 13th Floor
    Philadelphia, PA 19103
    JWilenzik@postschell.com
    MPerry@postschell.com

    Leslie Vander Griend, Esquire (admitted pro hac vice)
    John Fetters, Esquire (admitted pro hac vice)
    Bradford J. Axel (admitted pro hac vice)
   Case 4:21-cv-01091-MWB Document 148 Filed 06/29/23 Page 8 of 8




Joshua D. Harms (admitted pro hac vice)
Valerie A. Walker (admitted pro hac vice)
Theresa H. Wang (admitted pro hac vice)
Stokes Lawrence, P.S.
1420 Fifth Avenue, Suite 3000
Seattle, WA 98101
Leslie.VanderGriend@stokeslaw.com
John.Fetters@stokeslaw.com
Josh.Harms@stokeslaw.com
Valerie.Walker@stokeslaw.com
BJA@stokeslaw.com
Theresa.Wang@stokeslaw.com
Attorneys for Defendants,
Vintage Brand, LLC, et al.

                                      By: /s/ Justin Tomevi
                                      Justin Tomevi
                                      Pa. ID No. 313661
                                      Barley Snyder
                                      100 East Market Street
                                      York, PA 17401
                                      Tel: 717-852-4977
                                      Fax: 717-843-8492
                                      Email: jtomevi@barley.com

                                      Phillip R. Malone (admitted pro hac vice)
                                      Juelsgaard Intellectual Property &
                                        Innovation Clinic
                                      Mills Legal Clinic, Stanford Law School
                                      559 Nathan Abbott Way
                                      Stanford, CA 94305
                                      Tel: 650-725-6369
                                      Fax: 650-723-4426
                                      Email: pmalone@law.stanford




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